                Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 1 of 8


 1
 2
 3
 4
 5
 6
 7
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10
           UNITED STATES OF AMERICA,           )             NO. 1:10-CR-00039 AWI
11                                             )
                             Plaintiff,        )             PRETRIAL ORDER
12                                             )
                 v.                            )             Trial Confirmation and
13                                             )             Motions In Limine Hearing:
           MARIA GUADALUPE PONCE,              )             Date: August 29, 2011
14                                             )             Time: 9:00 a.m., Courtroom 2
                             Defendant.        )
15                                             )             Trial:
                                               )             Date: September 13, 2011
16                                             )             Time: 8:30 a.m., Courtroom 2
                                               )
17         ____________________________________)             RULES OF CONDUCT
18
19                  On July 5, 2011, the court set trial in this matter for September 13, 2011. Counsel
20   shall be present at 8:30 a.m. to resolve any remaining matters.
21   I. Motions In Limine Hearing and Briefing Schedule
22                  The hearing to consider motions in limine will be held on August 29, 2011, at
23   9:00 a.m. in Courtroom Two. In addition to addressing any filed motions in limine, at that time
24   the court will conduct a trial confirmation hearing and, to the extent possible, address any other
25   outstanding matters pertaining to the conduct of the trial.
26                  By 4:00 p.m. on July 22, 2011, all motions in limine, with supporting points and
27   authorities, shall be filed and served.
28   ///
               Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 2 of 8


 1                   By 4:00 p.m. on July 29, 2011, opposition to any motion in limine shall be filed
 2   and served. If a party does not oppose a motion in limine, that party shall file and serve in the
 3   same manner a Statement of Non-Opposition to that motion in limine.
 4   II. Witness List
 5                   The United States shall file and serve its witness list by 4:00 p.m. on Thursday,
 6   September 8, 2011.
 7   III. Trial Briefs
 8                   All parties are directed to file and serve a trial brief by 4:00 p.m. on Thursday,
 9   September 8, 2011.
10                   The parties need not include in a trial brief any issue that is adequately addressed
11   in a motion in limine, or in an opposition brief to a motion in limine. Also, the court does not
12   require in a trial brief the advance disclosure of a party’s trial strategy or any information
13   protected from advance disclosure by constitutional, statutory or case authority.
14   IV. Proposed Jury Instructions
15                   The parties shall file and serve proposed jury instructions by 4:00 p.m. on
16   Thursday, September 8, 2011, along with a copy of the instructions on a CD-ROM disc,
17   preferable formatted for WordPerfect 10. Alternatively, electronic filers shall attach a copy of
18   their proposed jury instructions to an e-mail, which the party shall send to
19   awiorders@caed.uscourts.gov.
20                   The printed proposed jury instructions that are submitted to the court shall be in
21   duplicate. One set shall indicate the party proposing the instruction, with each instruction
22   numbered or lettered, shall cite supporting authority, and shall include the customary “Given,
23   Given as Modified, or Refused,” showing the court’s action with regard to each instruction. The
24   other set shall be an exact copy of the first set, but shall be a “clean” copy that does not contain
25   the identification of the offering party, instruction number or letter, supporting authority, or
26   reference to the court’s disposition of the proposed instruction.
27
28                                                     2
                Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 3 of 8


 1                  The parties are ordered to confer after the trial confirmation hearing to determine
 2   which instructions they agree should be given. As soon as possible thereafter, the parties shall
 3   submit a list of joint, unopposed instructions. As to those instructions to which the parties
 4   dispute, the court will conduct its jury instruction conference during trial at a convenient time.
 5   V. Exhibits
 6                  The United States shall lodge with the Courtroom Deputy two sets of its exhibit
 7   binder, plus the original and two copies of its exhibit list, by 4:00 p.m. on Thursday, September
 8   8, 2011. The United States shall also serve copies of its exhibit binder and exhibit list upon
 9   defendant by 4:00 p.m. on Thursday, September 8, 2011.
10                  The parties are ordered to confer after the trial confirmation hearing for the
11   purpose of pre-marking exhibits. All joint exhibits must be pre-marked with numbers preceded
12   by the designation JT/-- (e.g., JT/1, JT/2). The United States’ exhibits shall be pre-marked with
13   numbers. Defense exhibits are to be pre-marked with letters.1
14          1. Counsel are to confer and make the following determination with respect to each
15   proposed exhibit to be introduced into evidence, and to prepare separate indexes - one listing
16   joint exhibits, and one listing each party’s separate exhibits:
17                  a. Duplicate exhibits, i.e., documents that all parties desire to introduce into
18   evidence, shall be marked as a joint exhibit, and numbered as directed above. Joint exhibits shall
19   be listed on a separate index, and shall be admitted into evidence on the motion of any party,
20   without further foundation.
21                  b. As to exhibits that are not jointly offered, and to which there is no objection to
22   introduction, those exhibits will likewise be appropriately marked, e.g., Plaintiff’s Exhibit 1 or
23   Defendant’s Exhibit A, and shall be listed in the offering party’s index in a column entitled
24   “Admitted In Evidence.” Such exhibits will be admitted upon introduction and motion of the
25
            1
26            To the extent that defendants are able to disclose exhibits in advance of trial, such
     exhibits shall be subject to the joint determination procedure set forth in this portion of the
27   Pretrial Order.

28                                                     3
               Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 4 of 8


 1   party, without further foundation.
 2                   c. Those exhibits to which the only objection is a lack of foundation shall be
 3   marked appropriately, e.g., Plaintiff’s Exhibit 2 - For Identification, or Defendant’s Exhibit B -
 4   For Identification, and indexed in a column entitled “Objection Foundation.”
 5                   d. Remaining exhibits as to which there are objections to admissibility not solely
 6   based on a lack of foundation shall likewise be marked appropriately, e.g., Plaintiff’s Exhibit 3 -
 7   For Identification or Defendant’s Exhibit C - For Identification, and indexed in a third column
 8   entitled “Other Objection” on the offering party’s index.
 9             2. Each separate index shall consist of the exhibit number or letter, a brief description
10   of the exhibit, and the three columns outlined above, as demonstrated in the example below:
11                                          INDEX OF EXHIBITS
12                                        ADMITTED          OBJECTION            OTHER
     EXHIBIT # DESCRIPTION                IN EVIDENCE       FOUNDATION           OBJECTION
13
14                   The court has no objection to counsel using copies. However, the copies must be
15   legible. If any document is offered into evidence that is partially illegible, the court may sua
16   sponte exclude it from evidence.
17   VI. Voir Dire
18                   The parties shall file and serve proposed voir dire questions, if any, by 4:00 p.m.
19   on Thursday, September 8, 2011.        Further, in order to aid the court in the proper voir dire
20   examination of the prospective jurors, counsel should lodge with the court on the first morning of
21   trial a list of all prospective witnesses, including rebuttal witnesses, that counsel reasonably
22   expect to call. The purpose of the lists is to advise the prospective jurors of possible witnesses to
23   determine if a prospective juror is familiar with any potential witness.
24   VII. Use Of Videotape and Computers
25                   Any party wishing to use a videotape for any purpose during trial shall lodge a
26   copy of the videotape with the Courtroom Clerk by 4:00 p.m. on Thursday, September 8, 2011.
27
28                                                     4
               Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 5 of 8


 1   If a written transcript of audible words on the tape is available, the court requests that the
 2   transcript be lodged with the court, solely for the aid of the court.
 3                  If counsel intends to use a laptop computer for presentation of evidence, they shall
 4   contact the courtroom deputy clerk at least one week prior to trial. The courtroom deputy clerk
 5   will then arrange a time for counsel to bring the laptop to the courtroom, and meet with a
 6   representative of the Information and Technology Department and receive a brief training session
 7   on how counsel’s equipment interacts with the court’s audio/visual equipment. If counsel
 8   intends to use PowerPoint, the resolution should be set no higher than 1024 x 768 when
 9   preparing the presentation.
10   VIII. Agreed Summary Of The Case
11                  The parties shall lodge with the Courtroom Clerk a joint agreed summary of the
12   case, briefly outlining the positions of the parties by 4:00 p.m. on Thursday, September 8, 2011.
13   The summary will be read to the jury panel at the outset of the trial solely for the purposes of
14   assisting in the jury selection process. The contents of the summary shall not be deemed to be
15   evidence or an admission or stipulation by a party as to any contested fact or issue.
16   IX. Morning Conferences During Trial
17                  During the trial, it is the obligation of counsel to meet with the court each morning
18   to advise the court and opposing counsel as to what documents are proposed to be put into
19   evidence that have not previously been admitted by stipulation, court order, or otherwise ruled
20   upon. The court will rule on those documents, to the extent possible, prior to the commencement
21   of trial each day out of the presence of the jury. If the ruling depends upon the receipt of
22   testimony, the court will rule as requested upon the receipt of such testimony.
23                  The court shall consider any other legal matter at morning conferences as well.
24   The court does not wish to recess the trial to hear legal argument outside of the presence of the
25   jury, and proper preparation by counsel will eliminate the need for that result.
26   ///
27
28                                                      5
                  Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 6 of 8


 1   X. Objections To Pretrial Order
 2                   As to any deadline in this Order that occurs after the date of the trial confirmation
 3   hearing, any party may ask for reconsideration and/or the court may sua sponte revise that date at
 4   the trial confirmation hearing. Other than such dates, any party who objects to any aspect of this
 5   Pretrial Order may, within ten (10) calendar days after the date of service of this order, file and
 6   serve written objections to such provisions of this order. Any such objection shall specify a
 7   requested correction, addition or deletion.
 8   XI. Rules of Conduct During Trial
 9          A. General Rules
10          1. All participants in the trial shall conduct themselves in a civil manner. There shall be
11   no hostile interchanges between any of the participants.
12          2. All oral presentations shall be made from the podium, unless otherwise permitted by
13   the court.
14          3. Sidebar conferences are discouraged. Legal arguments or discussion of issues outside
15   the presence of the jury should be done during recesses.
16          4. Counsel shall advise their respective clients and witnesses not to discuss any aspect of
17   the case in the common areas of the courthouse accessible to the jurors, such as the lobby, the
18   elevators, the hallways and the cafeteria.
19          B. Jury Selection
20          1. The court will conduct voir dire to be supplemented by any written questions
21   submitted by counsel prior to trial and after the court has concluded its questioning of the jury
22   panel. In some circumstances, the court may allow brief direct questioning by counsel.
23          C. Opening Statements
24          1. Counsel may use visual aids in presenting the opening statement. However, any
25   proposed visual aids shall be shown to opposing counsel before opening statement.
26   ///
27
28                                                     6
                Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 7 of 8


 1           D. Case in Chief
 2           1. Counsel shall have his/her witnesses readily available to testify so that there are no
 3   delays in the presentation of evidence to the trier of fact.
 4           2. At the close of each trial day, counsel shall disclose his/her anticipated witnesses and
 5   order of presentation for the next day, so that any scheduling or evidentiary issues may be raised
 6   at that time.
 7           E. Witnesses
 8           1. Before approaching a witness, counsel shall secure leave of court to approach the
 9   witness.
10           2. Before approaching a witness with a writing, counsel shall first show the writing to
11   opposing counsel.
12           F. Exhibits
13           1. All exhibits shall be marked and identified in accordance with the instructions in the
14   Pretrial Order.
15           2. An exhibit shall not be published to the jury until it has been admitted into evidence
16   and counsel has secured leave of court to publish the exhibit.
17           3. The court usually will conduct an on the record review of the exhibits that have been
18   admitted in evidence at the conclusion of each party’s case in chief and after each party has
19   rested its entire case.
20           G. Objections
21           1. No speaking objections or arguments are permitted in the presence of the jury.
22   Counsel shall state the specific legal ground(s) for the objection, and the court will rule based
23   upon the ground(s) stated. The court will permit counsel to argue the matter at the next recess.
24           2. The court will not assume that any objection made also implies with it a motion to
25   strike an answer that has been given. Therefore, counsel who has made an objection, and who
26   also wishes to have an answer stricken, shall also specifically move to strike the answer.
27
28                                                      7
              Case 1:10-cr-00039-AWI Document 51 Filed 07/12/11 Page 8 of 8


 1          H. Closing Argument
 2          1. Counsel may use visual aids in presenting the closing argument. However, any
 3   proposed visual aids shall be shown to opposing counsel before closing argument.
 4
 5   FAILURE TO COMPLY WITH ALL PROVISIONS OF THIS ORDER MAY BE GROUNDS
 6   FOR THE IMPOSITION OF SANCTIONS ON ANY AND ALL COUNSEL AS WELL AS ON
 7   ANY PARTY WHO CAUSES NON-COMPLIANCE WITH THIS ORDER.
 8
 9   IT IS SO ORDERED.
10
     Dated:    July 11, 2011
11   0m8i78                                        CHIEF UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                 8
